









	








IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,864






EX PARTE WILLIE EARL PORTER, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. CR-27001-A IN THE 159TH DISTRICT COURT


FROM ANGELINA COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession of a
controlled substance and sentenced to one years imprisonment. 

	Applicant contends that he has been denied his right to appeal.  

	The trial court has determined that Applicant was denied his right to appeal.  We find,
therefore, that Applicant is entitled to the opportunity to file an out-of-time appeal of the judgment
of conviction in Cause No. CR-27001-A from the 159th Judicial District Court of Angelina County. 
Applicant is ordered returned to that time at which he may give a written notice of appeal so that he
may then, with the aid of counsel, obtain a meaningful appeal.  All time limits shall be calculated
as if the sentence had been imposed on the date on which the mandate of this Court issues.  We hold
that, should Applicant desire to prosecute an appeal, he must take affirmative steps to file a written
notice of appeal in the trial court within 30 days after the mandate of this Court issues.


Delivered: March 12, 2008

Do Not Publish


